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                                UNITE!) STATES IMSTRICT COURT
                                                 PROBATION OFFICE
                                           DISTRICT OF NEW JERSEY
    WILFREDOTORRES
  CHILF PRO
          \TIO OFFICER                                                                               SUPERVISION UNIT
                                                                                                  20 WASHINGTON PLACE
                                                     June 17. 2011                                      6 FLOOR
    THOMAS C. MILLER
DEPUTY CHIEF PROBATION OFFICER                                                                     NEVA1tK, NJ 071O23 172
                                                                                                       (973) 635-6161
                                                                                                    FAN: (93 645-2155

                                                                                                    www.njpdtscourtsgov

         The Honorable Stanley R. Chesler
         United States [)i strict Judge
         Martin Luther King Jr. Federal Building & Courthouse
         P0 Box 0999
         Newark, New Jersey 07102

                                                       RE: 1)EAK, Edward
                                                       Docket No. 08-00327-15

        I)ear Judge Chelser.

        The probation office writes in response to the offender’s written reques
                                                                                t. dated April 6, 2011. and
        Assistant United States Attorney Bohdan Vitvitsky’s correspondence, dated June
                                                                                          13. 201 1, regarding
        the offender’s request that the cost of home monitoring be waived due to
                                                                                    the offender’s financial
        situation. As the offender has been disabled due to injury since 2006, and
                                                                                         is unemployed and
        subsisting on a fixed income, the probation office does not oppose his applica
                                                                                        tion.
        If the Court has any further questions or concerns, please contact the unders
                                                                                      igned officer at (973)
        445-8120.

                                                              Very truly yours,

                                                              WILFREDO TORRES. Chief
                                                              U.S. Probation




                                                                       Probation Officer

       /grnb
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                                                             •         ••—.   —rr. ,rr’%
 April 6. 2011                                               cjcij rU
 Honorable Judge Stanley R. Chesler

 US Post Office & Courthouse                                     H H
                                                                        iVc
 )0 Walnut Street

 Newark, NJ.07 102

 Docket No. 08-327 (15)

 Your Honor:

 Please accept this letter as an urgent request. I was sentenced by you to a location monitoring program
 for 6 months. The payment of costs was not waived, and I was also sentenced to to years probation.

 For your information. I have been disabled since an accident in 2006, which left me unable to work. As
 for income, I only receive Social Security.

 ff1 am to pay my monthly hills, I must ask your permission to waive the monitoring fee of $57670.

 Should Your Honor deny this request. I respectfully ask the court to reappoint my C.i.A. lawyer, Marc
 L.eibman. to assist me in completing a more formal application to the court.

 Respectfully yours,



 Edward Deak

 cc:     Bohdan Vitvitsky, AUSA

         Stanley Wetstone
